Case 19-02618   Doc 32   Filed 05/07/19 Entered 05/07/19 17:58:51   Desc Main
                           Document     Page 1 of 5
Case 19-02618   Doc 32   Filed 05/07/19 Entered 05/07/19 17:58:51   Desc Main
                           Document     Page 2 of 5
Case 19-02618   Doc 32   Filed 05/07/19 Entered 05/07/19 17:58:51   Desc Main
                           Document     Page 3 of 5
Case 19-02618   Doc 32   Filed 05/07/19 Entered 05/07/19 17:58:51   Desc Main
                           Document     Page 4 of 5
Case 19-02618   Doc 32   Filed 05/07/19 Entered 05/07/19 17:58:51   Desc Main
                           Document     Page 5 of 5
